                        IN THE SUPREME COURT OF THE STATE OF NEVADA


                JOSHUA MASTERS,                                         No. 69582
                Petitioner,
                vs.
                THE EIGHTH JUDICIAL DISTRICT
                COURT OF THE STATE OF NEVADA,                             FILED
                IN AND FOR THE COUNTY OF
                CLARK; AND THE HONORABLE ROB
                                                                          MAR 17 2016
                BARE, DISTRICT JUDGE,                                     TRADE K. LrILDEVAN
                                                                       CLERK OF 'UPREME COURT
                Respondents,
                                                                            DEPUTY CLERK
                and
                CITY OF LAS VEGAS,
                Real Party in Interest.
                JOSHUA LEE MASTERS,                                     No. 69602
                Appellant,
                vs.
                CITY OF LAS VEGAS,
                Respondent.

                        ORDER DENYING PETITION (DOCKET NO. 69582) AND
                         ORDER DISMISSING APPEAL (DOCKET NO. 69602)
                             Docket No. 69582 is an original petition for a writ of habeas
                corpus challenging the constitutionality of NRS 484C.110. Docket No.
                69602 is an appeal from a district court order affirming a misdemeanor
                conviction. We elect to consolidate these cases for disposition.
                Docket No. 69582
                             Joshua Masters did not submit an appendix with his petition.
                See NRAP 21(a)(4), (c); see also Dir., Nev. Dep't of Prisons v. Arndt, 98 Nev.
                84, 85-86, 640 P.2d 1318, 1319 (1982) (recognizing the writ of habeas
                corpus as an extraordinary writ). Thus, he has failed to demonstrate that
                he is entitled to relief.
                             Moreover, a petition for a writ of habeas corpus will not issue
                when an adequate remedy exists, save for extraordinary circumstances.
SUPREME COURT
        OF
     NEVADA


(0) I947A
                                                                                       ar,
                       See City of Reno v. Forrest, 87 Nev. 6, 8-9, 479 P.2d 465, 466 (1971).
                       Masters appears to have an adequate remedy at law, see NRS 34.020(3);
                       Stilwell v. City of N. Las Vegas,      129 Nev., Adv. Op. 76, 311 P.3d 1177,
                       1178-79 (2013), and he fails to demonstrate extraordinary circumstances
                       warranting our intervention.
                                     Furthermore, Master's underlying argument is premised on
                       there being two versions of NRS 484C.110 currently in effect. This is a
                       meritless argument. While two NRS 484C.110 statutes are currently
                       listed, each contains an effective date in the title, ensuring that the
                       statutes cannot simultaneously be in effect.'    See Minor Girl v. Clark Cty.

                       Juvenile Court Servs., 87 Nev. 544, 548, 490 P.2d 1248, 1250 (1971).
                       Accordingly, we deny the petition. 2
                       Docket No. 69602
                                     As to the appeal in Docket No. 69602, we lack jurisdiction
                       because Master's case arose in the municipal court and the district court
                       has final appellate jurisdiction over a case arising in the municipal court.
                       Nev. Const. art. 6, § 6; NRS 5.073(1); NRS 266.565(1); NRS 266.595; Tripp




                             'The first NRS 484C.110 states that it is "[e]ffective until the date of
                       the repeal of the federal law requiring each state to make it unlawful for a
                       person to operate a motor vehicle with a blood alcohol concentration of
                       0.08 percent or greater as a condition to receiving federal funding for the
                       construction of' highways in this State," while the second NRS 484C.110
                       states that is leiffective on the date of the repeal of the federal law."
                       (Emphasis added).

                             2   We deny Master's motion to withdraw the petition.



SUPREME COURT
        OF
     NEVADA
                                                                2
(0) 1947A &lt;1lietikf0
                   v. City of Sparks, 92 Nev. 362, 363, 550 P.2d 419,419 (1976). Accordingly,
                   we dismiss the appeal in Docket No. 69602. 3
                                It is so ORDERED.



                                                                   /±.                     J.
                                                              Hardest„y___Hi
                                                                 ----(S
                                                                        ).

                                                                                           J.
                                                              sartt‘.


                                                                     qt.                   J.
                                                              Pickering




                   cc: Hon. Rob Bare, District Judge
                        Mueller Hinds &amp; Associates
                        Las Vegas City Attorney
                        Eighth District Court Clerk




                         3 In
                            his response to the order to showS cause, Masters stipulated to
                   the dismissal of the appeal.



SUPREME COURT
         OF
      NEVADA
                                                        3
((I) 1947A    eo
